
In re Greer Group; Greer, John B. Jr.; Greer, Patricia B.; Broyles, William H.; *135Broyles, Nell W.; Broyles, Harvey; Broyles, Alberta E.; Railsback, E.H.; Railsback, Barabra H.; White, James F.; White, Virginia S.; — Defendant(s); applying for writ of certiorari and/or review; to the Court of Appeal, Second Circuit, No. 21998-CA; Parish of Bossier, 26th Judicial District Court, Div. “B”, No. 66048.
Prior report: La.App., 574 So.2d 455.
Denied.
MARCUS, DENNIS and HALL, JJ., would grant the writ.
